 

Case 4:16-cr-00121-A Document 129 Filed 06/02/16 Page 1 of 1 Page|D 174

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UNITED STATES DISTRICT COURT

Norlhern DISTRICT OF

UN|TED STATES OF AMERlC/-\

Texas

EXHIBIT AND WITNESS LIST

V.
Case Nurnber: 4:16-CR-121-A(05)

T|l\/|OTHY ER|C N||\/|ERFROH

DEFENDANT’S ATTORNEY

 

PLAlNTlFF’S ATTORNEY

Anthony H. Green

 

 

 

 

 

 

 

 

 

 

PRESIDING JUDGE
John l\/|cBryde Shawn Smith - AUSA
TRIAL DATE (S) COURT REPORTER cOURTROOM DEPUTY
06/02/2016 Rearraignment Hearing Debbie Saenz F. Arno|d
PLF. DEF, DATE
NO- NO- OFFERED MARKED ADMITTED DESCRIPTION OF EXHIBITS" AND WlTNESSES
05 6/2/2016 yes Yes Govt Exh. 2 - Admitted
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* lnclude a notation as to the location of any exhibit not held with the case file or not available because of size.

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